       Case: 3:04-cr-00164-bbc Document #: 412 Filed: 11/06/07 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

UNITED STATES OF AMERICA,
                                                                  ORDER
                             Plaintiff,
                                                                  04-CR-0164-C-01
              v.

JEIK D. ROMERO,

                             Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       Defendant has filed a “Motion for Transcripts and Access to Pre-Existing Records”

stating he wishes to use the transcripts and documents to challenge his conviction in a

motion brought pursuant to 28 U.S.C. § 2255. I construe the motion as a request for

preparation of the transcripts at government expense, pursuant to 28 U.S.C. §753(f), which

provides in relevant part:

              Fees for transcripts furnished in proceedings brought under
              section 2255 of this title to persons permitted to sue or appeal
              in forma pauperis shall be paid by the United States . . . if the
              trial judge or a circuit judge certifies that the suit or appeal is
              not frivolous and that the transcript is needed to decide the
              issue presented by the suit or appeal.



       Defendant has not said which transcripts he needs nor explained how the transcripts


                                              1
       Case: 3:04-cr-00164-bbc Document #: 412 Filed: 11/06/07 Page 2 of 2




and documents are necessary to the preparation of his § 2255 motion. Without this

information, I cannot certify either that his motion would not be frivolous or that the

transcripts and documents are necessary. Therefore, his request for preparation of the

transcripts at government expense will be denied without prejudice.

       If defendant wishes, he may obtain a copy of the transcripts at his own expense by

writing directly to the Court Reporters Office, United States District Court, 120 N. Henry

Street, Madison, WI, 53703, (608) 255-3821.




                                        ORDER

       IT IS ORDERED that defendant’s motion for preparation of transcripts and

documents at government expense pursuant to 28 U.S.C. §753(f) is DENIED without

prejudice.

       Entered this 5th day of November, 2007.

                                         BY THE COURT:
                                         /s/
                                         BARBARA B. CRABB
                                         District Judge




                                            2
